Case 3:15-cr-00319-RS Document 171-1 Filed 07/12/18 Page 1 of 3




  EXHIBIT 1
                    Case 3:15-cr-00319-RS Document 171-1 Filed 07/12/18 Page 2 of 3

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                                                           June 2, 2015


            Via email

           Mr. William Frentzen, AUSA
           US Attorney's Office
           Northern District of California
           450 Golden Gate Avenue
           San Francisco, California 94102

                               Re: Shaun W. Bridges

           Dear Will,

                    As you know, Mr. Bridges has expressed his desire to plead guilty since meeting with you
           and your team on March 29, 2015. To that end, he proffered at that time and explained what he did
           and why he did it. He recognized then that he could have remained silent and forced your office to
           prove its case beyond a reasonable doubt. This would have been a complicated case to have
           prosecuted. His decision, as you would agree (and in fact have previously agreed), saved your office
           considerable time and effort. Admittedly, it also brought Mr. Bridges some emotional relief from
           having carried this burden for the past two years. Although you have chosen not to believe his
           account in its entirety, Mr. Bridges remains interested in putting this matter behind him and pleading
           guilty to actions that accurately capture his conduct.

                   This is about a Secret Service agent who stole approximately $350,000.00 in bitcoins from
           accounts that belonged to others. It is a theft case that is made more serious by Mr. Bridges'
           former position as a law enforcement official. Having said that, Mr. Bridges is prepared to plead
           guilty to money launderin since, as he indicated, he later converted the bitcoins into money that he
           transferre into ank accounts. He is not prepared to plead guilty to obstruction of justice at this
           time, absent some further demonstration oflow he obstructed, infrUenced, or impeded the
           investigation in the Northern District of California. The allegations set forth in the proposed plea,
           in which it is alleged that a San Francisco grand jury investigated Mr. Bridges' conduct, do not on
           their own amount to obstruction.
      Case 3:15-cr-00319-RS Document 171-1 Filed 07/12/18 Page 3 of 3


 June 2, 2015
 Page 2


        Consistent with the objection noted above, Mr. Bridges further objects to an enhancement
for obstruction of justice. I would suggest we leave that issue open, allowing both sides to address it
at sentencing.

         Likewise, I request that we leave open the issue of "sophisticated means." As you know, Mr.
Bridges wired money into accounts that were associated         Ti name. He then paid federal and
state income taxes on the gains made from the conversion of the bitcoins to dollars. The proposed
enhancement generally applies to cases involving the use of fictitious entities and other means
intended to hide assets, which is hardly the case here.

        Mr. Bridges agrees that forfeiture is appropriate; however, he does not agree to restitution at
this time, and he would request further information from you with respect to what entities or
individuals would be owed restitution in this case.

         Given Mr. Bridges' expressed interest in pleading guilty to money laundering, and the
government's own interest in saving its time, money, and effort, it is my hope that we can
successfully resolve this case. I have not raised each issue; those that remain are so minor that I am
confident that if we can resolve the ones discussed here, we can finalize an agreement and move
quickly to getting this case set for a change of plea.

                                                       Very truly yours,

                                                                /s/

                                                        Steven H. Levin

cc: Ms. Kathryn Haun, AUSA
